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                                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                               FT. LAUDERDALE DIVISION

       In re: JOHNNY ROSE CREATIVE KITCHEN,                  §    Case No. 18-17202-PDR
              INC.                                           §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Scott N. Brown, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $13,110.00                             Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $1,023.59               Claims Discharged
                                                                  Without Payment: N/A


      Total Expenses of Administration:    $40,341.18




               3) Total gross receipts of $41,364.77 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $41,364.77 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                          $0.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00           $40,341.18           $40,341.18           $40,341.18


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00           $20,483.88           $20,483.88             $1,023.59

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $304,287.42          $339,764.70           $39,764.70                 $0.00


   TOTAL DISBURSEMENTS                           $304,287.42          $400,589.76          $100,589.76           $41,364.77




                 4) This case was originally filed under chapter 7 on 06/15/2018. The case was pending for 28
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        10/08/2020                        By: /s/ Scott N. Brown
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                      $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                   RECEIVED

 Judgment against Elliott Adv Proc.18-1474                                                      1249-000                      $40,000.00

 Wells Fargo Bank N.A Checking 8052                                                             1129-000                           $78.98

 unscheduled work comp refund                                                                   1290-000                       $1,285.79

                             TOTAL GROSS RECEIPTS                                                                             $41,364.77

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM             $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE              PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                   UNIFORM        CLAIMS
   Claim                                                           CLAIMS           CLAIMS       CLAIMS
             CLAIMANT               TRAN.       SCHEDULED
    NO.                                                           ASSERTED         ALLOWED        PAID
                                    CODE      (from Form 6D)


    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

    N/F     Akiko Herron           4110-000             $0.00               NA              NA       NA

              TOTAL SECURED                             $0.00          $0.00            $0.00      $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM      CLAIMS             CLAIMS              CLAIMS             CLAIMS
   PAYEE                               TRAN.     SCHEDULED           ASSERTED            ALLOWED              PAID
                                       CODE

 Trustee, Fees - Scott N. Brown       2100-000              NA             $4,886.48        $4,886.48        $4,886.48

 Trustee, Expenses - Scott N. Brown   2200-000              NA               $41.63           $41.63              $41.63

 Attorney for Trustee Fees - BAST     3110-000              NA         $24,000.00         $24,000.00        $24,000.00
 AMRON LLP
 Attorney for Trustee, Expenses -     3120-000              NA             $2,084.99        $2,084.99        $2,084.99
 BAST AMRON LLP
 Charges, U.S. Bankruptcy Court       2700-000              NA              $350.00          $350.00             $350.00

 Banking and Technology Service       2600-000              NA              $120.00          $120.00             $120.00
 Fee - UNION BANK
 Accountant for Trustee Fees (Other   3410-000              NA             $8,612.50        $8,612.50        $8,612.50
 Firm) - KAPILAMUKAMAL, LLP
 Accountant for Trustee Expenses      3420-000              NA              $245.58          $245.58             $245.58
 (Other Firm) - KAPILAMUKAMAL,
 LLP
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA         $40,341.18         $40,341.18        $40,341.18
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM          CLAIMS            CLAIMS            CLAIMS               CLAIMS
         PAYEE
                             TRAN. CODE      SCHEDULED          ASSERTED          ALLOWED                PAID

                                                         None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                        CLAIMS
                                       UNIFORM        CLAIMS
                                                                       ASSERTED              CLAIMS       CLAIMS
 CLAIM NO.        CLAIMANT              TRAN.      SCHEDULED
                                                                    (from Proofs of         ALLOWED        PAID
                                        CODE      (from Form 6E)
                                                                         Claim)

     2P      Internal Revenue          5800-000               NA          $20,422.15         $20,422.15   $1,020.51
             Service Centralized
             Insolvancy Operations

     5P      Clerk of the Court -      5800-001               NA              $61.73            $61.73       $3.08
             City of Fort Lauderdale

    N/F      Florida Department of     5600-000             $0.00                NA                  NA         NA
             Revenue

    N/F      Internal Revenue          5600-000             $0.00                NA                  NA         NA
             Service

           TOTAL PRIORITY
          UNSECURED CLAIMS                                  $0.00         $20,483.88         $20,483.88   $1,023.59




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                          CLAIMS
                                         UNIFORM        CLAIMS
                                                                         ASSERTED              CLAIMS       CLAIMS
 CLAIM NO.          CLAIMANT              TRAN.      SCHEDULED
                                                                      (from Proofs of         ALLOWED        PAID
                                          CODE      (from Form 6F)
                                                                           Claim)

     1       Wells Fargo Bank, N.A.      7100-000         $1,335.00          $1,335.00          $1,335.00      $0.00
             Small Business
             Lending Division

     2U      Internal Revenue            7300-000               NA             $400.00           $400.00       $0.00
             Service Centralized
             Insolvancy Operations

     3       BMW Financial               7100-000               NA          $37,008.45         $37,008.45      $0.00
             Services NA, LLC

     4       Akiko Elliot c/o Keith T.   7100-000       $280,000.00        $300,000.00              $0.00      $0.00
             Grumer, Esq Katz
             Barron

     5U      City of Fort Lauderdale     7100-000               NA           $1,021.25          $1,021.25      $0.00


    N/F      AT&T                        7100-000           $152.41                NA                  NA        NA


    N/F      Alsco Linen                 7100-000         $2,425.81                NA                  NA        NA


    N/F      Brilliant Supply            7100-000         $1,411.45                NA                  NA        NA


    N/F      Cheney Brothers             7100-000         $3,275.50                NA                  NA        NA


    N/F      City of Fort Lauderdale     7100-000         $3,560.03                NA                  NA        NA


    N/F      DirecTV                     7100-000           $206.71                NA                  NA        NA


    N/F      Macs Produce                7100-000           $458.00                NA                  NA        NA


    N/F      Summit Holdings             7100-000         $2,000.00                NA                  NA        NA


    N/F      Supreme Energy              7100-000         $1,360.03                NA                  NA        NA


    N/F      The Restaurant              7100-000             $0.00                NA                  NA        NA
             People, LLC

    N/F      Timepayment Corp,           7100-000         $6,920.00                NA                  NA        NA
             LLC




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    N/F     Waste Management       7100-000       $889.02                NA              NA     NA


    N/F     Waste Management       7100-000       $293.46                NA              NA     NA


            TOTAL GENERAL
           UNSECURED CLAIMS                    $304,287.42     $339,764.70       $39,764.70   $0.00




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                                                               Form 1
                                                                                                                                                     Exhibit 8
                                           Individual Estate Property Record and Report                                                              Page: 1

                                                            Asset Cases
Case No.:    18-17202-PDR                                                                  Trustee Name:      (290010) Scott N. Brown
Case Name:         JOHNNY ROSE CREATIVE KITCHEN, INC.                                      Date Filed (f) or Converted (c): 06/15/2018 (f)
                                                                                           § 341(a) Meeting Date:       07/24/2018
For Period Ending:         10/08/2020                                                      Claims Bar Date:      08/24/2018

                                      1                            2                      3                      4                    5                   6

                           Asset Description                    Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)      Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                 Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                           and Other Costs)

    1       Wells Fargo Bank N.A Checking 8052                         122.88                      0.00                                   78.98                        FA

    2       Flat top grill                                             700.00                      0.00                                    0.00                        FA

    3       Plateware: 75 10.5" dinner plates; 65 6"                   750.00                      0.00                                    0.00                        FA
            side
            plates; 25 10" bowls (salads, soups, pastas);
            27 bamboo boards; 29 metal taco holders; 48
            9" metal serving trays

    4       Silverware: 78 forks; 72 butter knives; 26                  85.00                      0.00                                    0.00                        FA
            soup

    5       Char grill 30"x30"                                         700.00                      0.00                                    0.00                        FA

    6       Stand up freezer                                            50.00                      0.00                                    0.00                        FA

    7       Chet freezer                                                50.00                      0.00                                    0.00                        FA

    8       2 Fryers                                                   125.00                      0.00                                    0.00                        FA

    9       Buerner oven                                               500.00                      0.00                                    0.00                        FA

   10       6' Woork Table                                             250.00                      0.00                                    0.00                        FA

   11       3 Coolers                                              1,500.00                        0.00                                    0.00                        FA

   12       3 Beer coolers                                             750.00                      0.00                                    0.00                        FA

   13       Stand cooler                                               500.00                      0.00                                    0.00                        FA

   14       2 Sound amps                                               200.00                      0.00                                    0.00                        FA

   15       Sound board                                                400.00                      0.00                                    0.00                        FA

   16       4 18" Speakers                                             600.00                      0.00                                    0.00                        FA

   17       6 8" Speakers                                              600.00                      0.00                                    0.00                        FA

   18       30 Bar stools                                              750.00                      0.00                                    0.00                        FA

   19       40 Chairs                                                  800.00                      0.00                                    0.00                        FA

   20       20 Tables                                                  600.00                      0.00                                    0.00                        FA

   21       16 50" TVs                                             3,200.00                        0.00                                    0.00                        FA

   22       Restaurant/Bar 210 SW 2nd St                                 0.00                      0.00                                    0.00                        FA

   23       unscheduled work comp refund (u)                             0.00                 1,285.79                                1,285.79                         FA

   24       Judgment against Elliott Adv Proc.18-                        0.00              100,350.00                                40,000.00                         FA
            1474 (u)
            Order Granting Motion to Compromise Controversy
            11/06/19 (ECF 30)




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                                                             Form 1
                                                                                                                                                  Exhibit 8
                                         Individual Estate Property Record and Report                                                             Page: 2

                                                          Asset Cases
Case No.:    18-17202-PDR                                                              Trustee Name:      (290010) Scott N. Brown
Case Name:        JOHNNY ROSE CREATIVE KITCHEN, INC.                                   Date Filed (f) or Converted (c): 06/15/2018 (f)
                                                                                       § 341(a) Meeting Date:       07/24/2018
For Period Ending:        10/08/2020                                                   Claims Bar Date:      08/24/2018

                                    1                            2                    3                      4                   5                     6

                           Asset Description                  Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                               Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                            Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                       and Other Costs)

   25       Potential Avoidance Claim Against South                  0.00                      1.00         OA                        0.00                          FA
            Florida Vocal Acadamy
            Notice of abandonment 12/26/19 (ECF 34)


   25       Assets Totals (Excluding unknown values)          $13,232.88              $101,636.79                             $41,364.77                      $0.00



 Major Activities Affecting Case Closing:

                                 Trustee, through counsel, is investigating recovery opportunities
                                 Claims Bar Date - 8/24/18
                                 Asset #'s 2-22, though scheduled, had been transferred to landlord pre-petition and were not property of the
                                 Debtor as of the Petition Date.
                                 Trustee conducted Debtor's principal's 2004 exam on 1/23/19 - ECF 26
                                 On 12/5/18, Trustee filed suit against Akiko Elliott - see Adv. Proc. 18-1474-. Discovery has been propounded
                                 Hearing on MSJ scheduled for 5/15/19
                                 Trustee obtained summary judgment against Akiko Elliot for $100,350 on 5/24/19
                                 Post-judgment collection efforts are ongoing
                                 Trustee settled judgment against Akiko Elliot for $40,000 + waiver of claims (ECF 29 & 30).
                                 Trustee investigated potential avoidance claim against S. Florida Vocal Academy and subsequently
                                 abandoned same (ECF No 34).
                                 Claims review complete
                                 Final tax return filed
                                 Final fee applications filed
                                 Ready for TFR
                                 Note: As set forth in Trustee's counsel's first and final fee application (ECF No. 37), it is unfortunate that the
                                 distribution to creditors is relatively small as compared to the administrative expenses incurred by the Estate,
                                 but the costly, time-consuming (and what should have been, unnecessary) litigation that the Trustee was
                                 forced to bring and prosecute against Akiko Elliott would have rendered the Estate administratively insolvent
                                 but for the 30+% voluntary fee reductions taken by both the Trustee's counsel and the Trustee's accountants
                                 as a courtesy to the Trustee.

 Initial Projected Date Of Final Report (TFR): 06/30/2020                   Current Projected Date Of Final Report (TFR):            02/12/2020 (Actual)




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                                                            Form 2                                                                               Exhibit 9
                                                                                                                                                 Page: 1
                                            Cash Receipts And Disbursements Record
Case No.:              18-17202-PDR                                   Trustee Name:                   Scott N. Brown (290010)
Case Name:             JOHNNY ROSE CREATIVE KITCHEN, INC. Bank Name:                                  UNION BANK
Taxpayer ID #:         **-***6096                                     Account #:                      ******5860 Checking Account
For Period Ending: 10/08/2020                                         Blanket Bond (per case limit): $52,222,000.00
                                                                      Separate Bond (if applicable): N/A

    1          2                      3                                      4                             5                       6                       7

  Trans.    Check or      Paid To / Received From         Description of Transaction      Uniform       Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                      Tran. Code       $                        $

 08/13/18     {23}     BRIDGEFIELD CAUALTY             unscheduled work comp refund       1290-000             1,285.79                                         1,285.79
                       INSURANCE COMPA
 09/10/18     {1}      WELLS FARGO BANK N.A.           PROCEEDS IN ACCOUNT                1129-000               78.98                                          1,364.77
 11/26/18              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,349.77
 12/26/18              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,334.77
 01/25/19              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,319.77
 02/25/19              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,304.77
 03/25/19              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,289.77
 04/25/19              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,274.77
 05/28/19              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,259.77
 06/25/19              UNION BANK                      BANK SERVICE FEE                   2600-000                                      15.00                   1,244.77
 10/02/19     {24}     GRUMER MACALUSO, P.A.           Order Granting Motion to           1249-000         40,000.00                                           41,244.77
                                                       Compromise Controversy 11/06/19
                                                       (ECF 30)
 10/25/19              Metropolitan Commercial Bank    Wire Transfer To Fund New Bank     9999-000                                 41,244.77                        0.00
                                                       Account

                                          COLUMN TOTALS                                                     41,364.77               41,364.77                      $0.00
                                                Less: Bank Transfers/CDs                                           0.00             41,244.77
                                          Subtotal                                                          41,364.77                   120.00
                                                Less: Payments to Debtors                                                                 0.00

                                          NET Receipts / Disbursements                                     $41,364.77                  $120.00




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
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                                                              Form 2                                                                                 Exhibit 9
                                                                                                                                                     Page: 2
                                              Cash Receipts And Disbursements Record
Case No.:              18-17202-PDR                                       Trustee Name:                   Scott N. Brown (290010)
Case Name:             JOHNNY ROSE CREATIVE KITCHEN, INC. Bank Name:                                      Metropolitan Commercial Bank
Taxpayer ID #:         **-***6096                                         Account #:                      ******8428 Checking Account
For Period Ending: 10/08/2020                                             Blanket Bond (per case limit): $52,222,000.00
                                                                          Separate Bond (if applicable): N/A

    1          2                        3                                        4                             5                      6                        7

  Trans.    Check or       Paid To / Received From           Description of Transaction       Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                          Tran. Code       $                       $

 10/25/19              Union Bank                        Wire From Former Bank                9999-000         41,244.77                                           41,244.77
 04/03/20     101      Scott N. Brown                    Distribution payment - Dividend      2100-000                                    4,886.48                 36,358.29
                                                         paid at 100.00% of $4,886.48;
                                                         Claim # FEE; Filed: $4,886.48;
 04/03/20     102      Scott N. Brown                    Distribution payment - Dividend      2200-000                                      41.63                  36,316.66
                                                         paid at 100.00% of $41.63; Claim
                                                         # TE; Filed: $41.63;
 04/03/20     103      KAPILAMUKAMAL, LLP                Distribution payment - Dividend      3410-000                                    8,612.50                 27,704.16
                                                         paid at 100.00% of $8,612.50;
                                                         Claim # ; Filed: $8,612.50;
 04/03/20     104      KAPILAMUKAMAL, LLP                Distribution payment - Dividend      3420-000                                     245.58                  27,458.58
                                                         paid at 100.00% of $245.58; Claim
                                                         # ; Filed: $245.58;
 04/03/20     105      BAST AMRON LLP                    Distribution payment - Dividend      3110-000                                24,000.00                     3,458.58
                                                         paid at 100.00% of $24,000.00;
                                                         Claim # ; Filed: $24,000.00;
 04/03/20     106      BAST AMRON LLP                    Distribution payment - Dividend      3120-000                                    2,084.99                  1,373.59
                                                         paid at 100.00% of $2,084.99;
                                                         Claim # ; Filed: $2,084.99;
 04/03/20     107      Internal Revenue Service          Distribution payment - Dividend      5800-000                                    1,020.51                   353.08
                       Centralized Insolvancy Operations paid at 5.00% of $20,422.15;
                                                         Claim # 2P; Filed: $20,422.15;
                                                         Stopped on 07/02/2020
 04/03/20     108      Clerk of the Court                Combined small dividends.            5800-001                                       3.08                    350.00
 04/13/20     109      Clerk of the Court                Adversary Filing Fee 18-01474        2700-000                                     350.00                       0.00
 07/02/20     107      Internal Revenue Service          Distribution payment - Dividend      5800-000                                -1,020.51                     1,020.51
                       Centralized Insolvancy Operations paid at 5.00% of $20,422.15;
                                                         Claim # 2P; Filed: $20,422.15;
                                                         Stopped: check issued on
                                                         04/03/2020
 08/13/20     110      Internal Revenue Service          Distribution payment - Dividend      5800-000                                    1,020.51                      0.00
                       Centralized Insolvancy Operations paid at 5.00% of $20,422.15;
                                                         Claim # 2P; Filed: $20,422.15;

                                            COLUMN TOTALS                                                      41,244.77               41,244.77                       $0.00
                                                  Less: Bank Transfers/CDs                                     41,244.77                      0.00
                                            Subtotal                                                                  0.00             41,244.77
                                                  Less: Payments to Debtors                                                                   0.00

                                            NET Receipts / Disbursements                                           $0.00              $41,244.77




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                                Case 18-17202-PDR            Doc 47        Filed 11/10/20          Page 13 of 13

                                                     Form 2                                                                 Exhibit 9
                                                                                                                            Page: 3
                                     Cash Receipts And Disbursements Record
Case No.:         18-17202-PDR                               Trustee Name:                   Scott N. Brown (290010)
Case Name:        JOHNNY ROSE CREATIVE KITCHEN, INC.         Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:    **-***6096                                 Account #:                      ******8428 Checking Account
For Period Ending: 10/08/2020                                Blanket Bond (per case limit): $52,222,000.00
                                                             Separate Bond (if applicable): N/A




                                                                                                NET                    ACCOUNT
                               TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS               BALANCES
                               ******5860 Checking Account                      $41,364.77          $120.00                    $0.00

                               ******8428 Checking Account                           $0.00               $41,244.77             $0.00

                                                                               $41,364.77               $41,364.77              $0.00




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